                                             Indiana Department of Correction
               USDC IN/ND case 4:18-cv-00065-TLS      document
                                      Westville Correctional Facility72 filed 07/20/20 page 11 of 200

                                           History of Grievances for Offender
                                                  206339   JAMES LARKIN



                                                              Torte Claim                               Level Receive
Facility   Log ID   Topic                                       Filed       Appeal/Level                    Date
wcu        102042   Staff/Others- Complaints -Assault By Staff              I -Formal Grievance          27-APR-18
                                                                            II- Formal Appeal            31-MAY-18
           Staff being Grieved (if any):


           102455    Programs, Institution -Religious Programs              I - Formal Grievance          30-MAY-18
                     - Access,Apparel, Etc.                                 II -Formal Appeal             21-JUN-18
           Staff being Grieved (if any):




   02-JUL-19 10:50 AM                                      Page 1 of 1



                                                                                                   IDOC0000005
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              USDC IN/ND case 4:18-cv-00065-TLS
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                                                        l
                 GRIEVANCE APPEAL
                 State Form 45473 (R3/4-17)
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                                                                                41 •'    •                II
                 DEPARTMENT OF CORRECTION               I

                 OFFENDER GRIEVANCE PROGRAM
                                                                -·-     .   -- . -- - -.            ~·

Date form sent to offender (month, day, year)                                  Date of grievance (month, day, year)
                              05/17/201B                                                                       04/10/2018
Name of offender
James Larkin
                                                                               DOC number
                                                                                               206339
                                                                                                                   I  Facility
                                                                                                                                 wcu
Housing assignment                                                             Date grievance response received (month, day, year)
A7-106                                                                                                         05/16/2018




IFacility level response:



    Your appea l has been reviewe d. Facility Levell response is appropriate. Appeal Denied.




    Signature of warden I design




                                                tu n this form to the Facility Grievance Specialist.
    0 Agree with facility appeal respons
 JJ<'    Disagree with facility appeal response. Send appeal to Department Offender Grievance Manager.




DISTRIBUTION: Copy- Facility Grievance Specialist; Copy- Department Grievance Manager; Copy- Offender Packet, Facility; Copy- Offender




                                                                                                                            IDOC0000007
              USDC IN/ND case 4:18-cv-00065-TLS RECEIVED
                                                 document 72 filed 07/20/20 page 14 of 200

                      GRIEVANCE APPEAL                                                              MAY 2 9 2018
                      State Form 45473 (R3 / 4-17)
                      DEPARTMENT OF CORRECTION
                      OFFENDER GRIEVANCE PROGRAM                                          GRIEVANCE OFFICE
Date form sent to offender (month, day, year)                                                                Date of grievance (month, day, year)
                                           05/1 7/2018                                                                                                   04/10/2018
Name of offender                                                                                             DOC number                                             Facility
 James Larkin                                                                                                                  206339                                                   wcu
Housing assignment                                                                                           Date grievance response received (month, day, year)
 A7-106                                                                                                                                                  05/16/2018

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 Signal~~~
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        v
 Facility level response:


 Your appea l has been reviewed. Facility Level 1 response is appropriate . Appeal Denied .




                                            I           ~
 Signature of warden I deslgnt {_
                                     .            ':-;):_
                                                         -:/~.
                                                                                                                                                I Date.s-n:d t~t~ d(t year)
                                                                        ./
 Please check the appropriate box and~tu n this form to the Facility Grievance Specialist.

 D Agree with facility appeal responsU
 0 Disagree with facility appeal response. Send appeal to Department Offender Grievance Manager.
  Signature of offender                                                                                                                         I      Date signed (month, day, yean



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                                          Westville Control
                 USDC IN/ND case 4:18-cv-00065-TLS          Unit
                                                       document  72 filed 07/20/20 page 15 of 200
                                        Offender Grievance Response Repor
                                                          Case Log #: 102042

DOC No: 206339             Offender Name:         James Larkin
Current Facility: WCU

TOPIC:    Staff/Others -Complaints -Assault By Staff                                                         Incident Date: 10-APR-18

Response

 LEVEL                                        Form Issue Date        Level Receive Date             Response Date


I - Formal Grievance                                                      27-APR-18                   16-MAY-18

  Level Response
  In response to Grievance Log #1 02042, you compliant was investigated by the Office of Investigations and Intelligence due to your
  allegations. Your claims could not be substantiated. There is no indication that staff acted inappropriately. Grievance Denied.




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    ~sistant                                                                                               Dale
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         Student/Offender                                                                                  Date

                 Agree        ~Disagree




                                                                       Page 1 of 1
   16-MAY-18 08:22AM




                                                                                                                        IDOC0000009
                                                 Indiana Department of Correction
                                        Westville Control Unit
              USDC IN/ND case 4:18-cv-00065-TLS     document 72 filed 07/20/20 page 16 of 200
                                       Offender Grievance Response Report
                                                        Case Log #: 102042

DOC No: 206339            Offender Name:         James Larkin                                        Bldg/Range/Bed: A-7- 106
Current Facility: WCU

TOPIC:    Staff/Others - Complaints -Assault By Staff                                                Incident Date: 10-APR-18

Response

 LEVEL                                       Form Issue Date     Level Receive Date     Response Date

I - Formal Grievance                                                 27-APR-18             16-MAY-18

  Level Response
 In response to Grievance Log #102042, you compliant was investigated by the Office of Investigations and Intelligence due to your
 allegations. Your claims could not be substantiated. There is no indication that staff acted inappropriately. Grievance Denied.




                                                                                                 oar,

         Student/Offender                                                                        Date

               Agree                  Disagree




                                                                 Page 1 of 1
  16-MAY-18 08:22AM




                                                                                                             IDOC0000010
           USDC IN/ND case 4:18-cv-00065-TLS RECEIVED
                                              document 72 filed 07/20/20 page 17 of 200

               OFFENDER GRIEVANCE                                APR 2 7 2018                 FOR OFFICIAL USE ONLY
                                                                                    Grievance number
               State Form 45471 (R4 / 4·17)
               DEPARTMENT OF CORRECTION                                         I
                                                           GRIEVANCt OFFICE 1
To:     I f'!)'j   Cc:.-1"1 be.               Facility                              Date (month, day, year)
      Facility Grievance Specialist
                                                                                           c;;2,j(g
From (name of offender)                                  DOC number


      J C1m?-S ;11 .          Lc;,r-




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